Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 1 of 14

Exhibit A

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 2 of 14

From: Bec Shanne SACAC) [Contracto

To: Kucera, John (USACAC); Paul Cambria

Cer Lanza, Dominic (USAAZ); Rapp, Kevin (USAAZ); Jones, Reginald (CRM); Perlmeter, Margaret (USAAZ); Janey
Henze Cook

Subject: RE: documents

Date: Friday, May 18, 2018 12:42:08 PM

Attachments: epublic Bank o! 8-996. Signed SW.pd'
epublic Bank o! 8-996.Si d Affidavit.pd
imageQOi.png

18.722,.Rep Bank of AZ.pdf
8-996.Ntc of E id

| contacted the Judge’s Clerk who confirmed that the Orders to Unseal have been signed by the
Judge for the Republic of Arizona accounts and they have been put into the queue to process and for
the docketing department to docket to the record. Attached, please find the Application for Seizure
Warrant, Affidavit and Seizure Warrant for both seizure warrants related to the Republic Bank of

Arizona — Larkin.

Shannen Beckman
FSA Contractor

From: Kucera, John (USACAC)

Sent: Thursday, May 17, 2018 2:51 PM

To: Paul Cambria <pcambria@lglaw.com>

Cc: Lanza, Dominic (USAAZ) <DLanza@usa.doj.gov>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>;
Jones, Reginald (CRM) <Reginald.Jones4 @usdoj.gov>; Perlmeter, Margaret (USAAZ)
<MPerlmeter @usa.doj.gov>; Janey Henze Cook <Janey@henzecookmurphy.com>; Beckman,
Shannen (USACAC) [Contractor] <sbeckman2@usa.doj.gov>

‘Subject: RE: documents

Paul,

The unsealing orders are coming through now. Shortly, I will send you the
seizure application, affidavits, and warrants related to your client.

Thanks,
John

John Kucera | AUSA
(213) 894-3391

From: Paul Cambria <pca ia w.com>
Sent: Thursday, May 17, 2018 9:53 AM

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 3 of 14

To: Kucera, John (USACAC) <jkucera@usa.doj.gov>

Ce: Lanza, Dominic (USAAZ) <DLanza@usa.doj.gov>; Rapp, Kevin (USAAZ} <KRa usa.doj.gov>;
Jones, Reginald (CRM) <Reginald. Jones4@usdoj.gov>; Perimeter, Margaret (USAAZ)
<MPerlmeter@usa,.dol.gov>

Subject: Re: documents

Ok let’s see haw it goes

Sent from my iPhone

Lipsitz Green
Scime Cambria...

Paul J. Cambria Jr.
Attorney at Law

42 Delaware Ave | Suite 120 | Buffalo, NY 44202
TEL 716 849 1333 x344 | FAX 716 855 1580

email | profile | website | map | vCard

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prohibited.

On May 17, 2018, at 12:48 PM, Kucera, John (USACAC) <John.Kucera@usdoj.gov> wrote:
Paul,

The motion was filed yesterday morning. Until the court has ruled,
I’m afraid I’m still bound by the sealing order. Once the sealing order
is lifted, then I will be able to send you the now sealed documents. I’m
afraid that I have no way to get the court to move more quickly or to
explain to me how soon it will act.

As I mentioned, since it was an unopposed motion, I expect that the
court will proceed quickly... but that’s just my best guess.

Thanks,
John

John Kucera | AUSA

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 4 of 14

(213) 894-3391

From: Paul Cambria <pcambria@lgiaw.com>
Sent: Thursday, May 17, 2018 7:06 AM

To: Kucera, John (USACAC) <jkucera@usa.doj.gov>
Subject: documents

Can you have the documents we have asked for to us by Monday before our motion is
scheduled to be argued assuming the motion is granted this week to unseal?

<image001.png>

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 5 of 14

Exhibit B

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 6 of 14

From: Kucera, John (USACAC

To: Janey Henze Cook; Paul Cambria

Ca: Lanza, Dominic (USAAZ); Rapp. Kevin (USAAZ); Perlmeter, Margaret (USAAZ); Jones, Reginald (CRM)
Subject: RE: Documents

Date: Thursday, May 10, 2018 12:09:56 PM

Attachments: imaqe002.pnq

J aney and Paul,

Since our 5/7 meeting, the government has taken steps to address the concerns
you raised. I'll try to run through those concerns and the government’s attempts
to cooperate in their resolution.

First, you indicated that your client urgently needed money to pay debts and
obligations. When you asked whether the government would allow seized funds
to be applied to your client’s personal expenses as well as to the maintenance of
other assets affected by the forfeiture actions, the government agreed to work

_ with you to resolve. As part of our discussions on this subject, the prosecution
team asked that your client provide some sort of verified financial statement—in
whatever form—so that the government could be assured of the truth of your
client’s claims that he was financially unable to attend to these obligations. You
declined to produce any information on your client’s financial status stating that
you considered it an illegitimate attempt by the government to obtain financial
information about your client. As a compromise, the government agreed that
your firm could use a check that you represented was likely from a wholly
untainted source. Although you could not guarantee that this check was in no
way intermingled with any illicit funds, because of the urgency you represented to
us about the situation, the government agreed to forgo in-depth scrutiny of the
funds, and agreed that your firm could deposit the check and apply the proceeds
to your client’s debts (which you also indicated included about $60,000 owed to
your firm). Further, the prosecution team agreed that if additional urgent needs
for funds arose, particularly related to other assets subject to forfeiture, the
government would work in good faith to find a mutually acceptable solution,
including discussing applying other seized funds to the maintenance of assets
that might otherwise deteriorate in value. .

Next, you asked whether the government would provide all the sealed materials
involved in the CDCA civil forfeiture actions. You indicated that you needed
these materials to be able to review the basis for the seizure. The government
replied that it was unwilling to do provide all the requested documents because
such materials were under seal, and any early unsealing would result in the
premature disclosure of material that was the subject of a criminal discovery
order. Nevertheless, we agreed that we would try to address any issues you had
as a result of not being able to access all the under-seal materials. As part of our
efforts to be cooperative with you, the prosecution team agreed to seek an order
from the court allowing the government to provide you with what we've been
calling the “underlying documents” that the government relied upon for the
tracing of the bank accounts that resulted in the seizure of your client’s accounts.
We explained that we believed that these documents would allow you to review

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 7 of 14

the government’s basis for seizure, but, if after you had an opportunity to review, .
you disagreed and believed that additional materials would be needed, then the

~ government would work with you in good faith to find a mutually acceptable
solution. Further, the prosecution team explained that we intended to seek to file
civil complaints related to the seized assets, and that we intended to file such
complaints this month (May 2018), a timetable much quicker than that required
by law. We explained that, under the terms of the sealing order, the filing of
these complaints would result in the termination of the sealing order. So, even
under the government’s timetable, you would have access to the under seal
materials by the end of this month.

We had hoped that our efforts to accommodate your requests would have been
sufficient. We addressed your client’s immediate needs for funds, and agreed to
work with you should future needs arise, and we sought to find a mutually
acceptable way for you to review the basis for seizure in a timely way. We
continue to be willing to work with you on these concerns. Please let us know
should you like to discuss further.

-John

John Kucera | AUSA
(213) 894-3391

From: Janey Henze Cook <Janey@henzecookmurphy.com>

Sent: Wednesday, May 09, 2018 10:31 PM .

To: Paul Cambria <pcambria@lglaw.com>

Ce: Kucera, John (USACAC) <jkucera@usa.doj.gov>; Lanza, Dominic (USAAZ) <DLanza@usa.doj.gov>;
Rapp, Kevin (USAAZ) <KRapp @usa.doj.gov>; Perlmeter, Margaret (USAAZ)
<MPerlmeter@usa.doj.gov>; Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>

Subject: Re: Documents

In addition, please keep in mind that we did not know of the existence of the civil case at the
time of the stipulation, or while in Court on the 30th. The existence of the additional civil
forfeiture action became known to us on May 1. At that time, we immediately requested that
the documents be sent to us and were told that they were under seal and “we are looking into
it.’ On May 3 we learned for the first time that the case was in California. We renewed our
request for the documents and immediately offered to accept service of process, to receive the
documents subject to a protective order, to do whatever necessary to be provided notice.

No one is trying to change positions or undo previous agreements. We can’t stipulate to
something we don’t even know about. And I think it’s clear now that Cambria didn’t
understand the limited nature of the disclosure you were proposing when discussing this issue
earlier today.

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This request is not complicated- provide the defendants with the documents necessary to
defend themselves, and in turn, their counsel the opportunity to give legal advice based on
something other than guesswork. The documents we are requesting are not voluminous nor
does the government need to wade through 9 million files to find and send them.

If the government wants us to seek judicial intervention to receive things as basic as notice of
what has been seized, we will have to do so. Given all of the constitutional issues at play here- .
especially the denial of due process, we were hoping that wasn’t necessary. All we can do
now is accept your stated reason at face value- “they are sealed” and move on.

"!
HE NZE PLEASE NOTE OUR NEW ADDRESS!!!
oe Janey Henze Cook

MURPHY = 222 E._ Osborn 20

SoHE EES hoenix, Arizona 85014
Direct: 602.956.1930
Cell: 602.402.9576

Main: 602.956.1730

Fax: 602.956.1220
0 kmur!

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On May 9, 2018, at 8:44 PM, Paul Cambria <pcambria@|glaw.com> wrote:

John the court clearly was interested in early production the records we request are readily available
when you said underlying documents I expected just that and to me that means all of them. ‘Twas
pleased because I thought we could be in a position to review the basis for massive pretrial seizures

- that have a continuing dramatic impact on our clients and their ability to defend themselves. They are
indicted their assets are seized what possible reason could there be to withhold them .we need to
challenge the seizures and the extent of the seizures. We were pleased when we thought we were
getting all underlying documents. I believe the schedule sets forth the last possible dates for various
categories to be produced and that it does not preclude the defense from asking the court for sooner
production for easily available documents that we are entitled to and would be in keeping with the
courts obvious desire to encourage voluntary discovery. As stated in court we have literally millions
of documents to review the ones we requested we thought were the underlying documents you
referred to and are needed now to properly fund what will clearly be a tremendous amount of work
by the defense. So far you have not specified what you consider the underlying documents are but
for saying bank records. To me the underlying documents of PRE trial seizures are the documents
which purport to authorize the seizures. I am puzzled as to why you are not willing to provide them
now and no good reason has been given except that they are under seal. As we said we consent to
them being unsealed or given to us under a protective order. Please understand J am merely doing
my job my clients and other clients assets are paralyzed they are needed to meet daily obligations for
the nearly 2 years before we can be ready for trial And to adequately fund a defense in a case with up
to nine million documents. So we will gladly accept what you intended to supply and further reserve
our right to immediately request all of the underlying documents we need to fully address a massive

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 9 of 14

PRE trial seizure in a First Amendment grounded case. Please understand this very reasonable
request and position by the defense “

Sent from my iPhone

Lipsitz Green
Scime Cambria..

Paul J. Cambria Jr.
Attorney at Law

42 Delaware Ave | Suite 120 | Buffalo, NY 14202
TEL 716 849 1333 x344 | FAX 716 855 1580
email | profile | website | map | yGard

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persons named above. If you are not the intended recipient, you are hereby notified that any ‘
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> On May 9, 2018, at 11:12 PM, Kucera, John (U SACAC) <John. Kucera@usdoj.gov> wrote:

>

> The parties stipulated, less than two weeks ago, to a comprehensive discovery schedule. That
stipulated schedule afforded the government 60 days to produce the initial wave of discovery, which
is expected to be voluminous. The government is currently expending substantial resources toward
pulling all of the discovery together in a comprehensive fashion. Nevertheless, at your request, we
have now agreed to expedite the production of the first wave and provide it by the end of this month.
This production will include all of the documents you are now requesting. Additionally, we have
further agreed, again at your request, now to file a petition in the Central District of California to
permit us to disclose to you the financial records underlying the seizure of your client’s accounts.
These records will address the exact issue we discussed during our meeting earlier this week - our
tracing of tainted funds into the seized accounts. You seemed to agree to that approach earlier today
(which likely would have resulted in the production of the financial records to you by early next
week), but you have now changed your position and demanded that we immediately unseal and
produce an even larger set of records before the end of the month. Although we are trying to be
flexible, meet your needs, and avoid the need for judicial intervention, we believe our current
proposal - which will not only provide the requested records far earlier than the deadline the parties
previously agreed to, but also far earlier than usually required under the forfeiture statutes - is a
reasonable one.

>

> Sent from my iPhone

>

> On May 9, 2018, at 6:53 PM, Paul Cambria

<pcambria@|glaw.com<mailto:pcambria@|glaw.com>> wrote:
>

> Can you specify for me what you are saying you would provide so I can accurately represent that
in my motion and then list what other documents we believe are necessary and we are entitled to?
>

> Sent from my iPhone

>

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 10 of 14

>

>

>

> [cid:emailsignature_d62b426c-103f-4958-9e29-50e8fl ce530e1 11 png]

>

>

> Paul J. Cambria Jr.

> Attorney at Law

>

>

> 42 Delaware Ave | Suite 120 | Buffalo, NY 14202

> TEL 716 849 1333 x344 | FAX 716 855 1580
> email<mailto-pcambria@|glaw.com> | profile<http://www lipsitzgreen,com/attorneys/cambria-

paul/> | website<http.//www lipsitzgreen .cony/> | map<hitp://maps.google.com/maps?
q=42+Delawaret+Avenue,+ Buffalo +NY+14202 &daddr=42+DelawaretAve,t+Buffalo 4+NY+14202&hl=en-

US&view=map&scocode=CR_cHypAldvBFeFejgldUWdM-w&t=m&z=16> |
vCard<http://www.lipsitzereen.com/veard/3/>

VVVVVV

>
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>
>
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>
>> On May 9, 2018, at 9:22 PM, Kucera, John (CUSACAC)
<John. Kucera@usdoj.gov<mailto-John Kucera@usdoj. gov>> wrote:
>>
>> So, is it fair to say that you agree with our proposal and you will support the government’s
- motion to move to provide you with the ‘underlying documents?’
>>
>> Sent from my iPhone
>>
>> On May 9, 2018, at 6:16 PM, Paul Cambria
<pcambria@|glaw.com< ilto-pcambria@|lelaw.com><mailto:pcambria@Iglaw.com>> wrote:
>>
>> Would like anything you are willing to give us at this time
>>
>> Sent from my iPhone
>>
>>
>>
>>
>> [cid:emailsignature_d62b426c-103f-4958-9e29-50e8f1 ce530e1 1 1.png]
>>
>>
>> Paul J. Cambria Jr.
>> Attorney at Law
>>
>>
>> 42 Delaware Ave | Suite 120 | Buffalo, NY 14202

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 11 of 14

>> TEL 716 849 1333 x344 | FAX 716 855 1580
>> email<mailto:pcambria@lglaw.com> | profile<http/Avww lipsitzgreen.com/attorneys/cambria-

paul/> | website<http./www lipsitzgreen.com/> | map<http://maps,google.com/maps?
q=424+DelawaretAvenue,+Buftalo+NY+1 42.02 &daddr=42+Delaware+A ve,t Buffalo tNY+14202&hl=en- ©

US&view=man&geocode=CR_cHypAldvBFeFejgidUWdM-w&t=m&z=16> |
vCard<http://www lipsitzgreen.com/vcard/3/> ”
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>>
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>>
>>> On May 9, 2018, at 8:53 PM, Kucera, John (USACAC)
<John Kucera@usdoj.gov<mailto-Jo ucera(@usdoj.gov><mailto- John Kucera@usdoi.gov>>
wrote:
>>>
>>> We understand your request, but the government won't agree to that at this time. Given our
position on your request, how do you wish to proceed on our proposal?
>>>
>>> Sent from my iPhone
>>>
>>> On May 9, 2018, at 5:34 PM, Paul Cambria
<pcambria@Iglaw.com<mailto:pcambria@|glaw.com>< ailto:pcambria@ | glaw.com>
<mailto-:pcambria@|glaw.com>> wrote:
>>>
>>> I would hope you would send us the documents Janey stated
>>>
>>> Sent from my iPhone
>>>
>>>
>>>
>>>
_ >>> [cid:emailsignature_d62b426c-103f-495 8-9e29-50e8f1 ce530e111.png]
>>>
>>>
>>> Paul J. Cambria Jr.
>>> Attorney at Law
>>> :
>>>
>>> 42 Delaware Ave | Suite 120 | Buffalo, NY 14202
>>> TEL 716 849 1333 x344 | FAX 716 855 1580 ,
>>> email<mailto:pcambria@|glaw.com> | profile<http://www lipsitzgreen.com/attorneys/cambria-

paul/> | website<http:/Avww lipsitzgreen.com/> | map<http//maps.google com/maps?
q=42-+DelawaretAvenue,tBuffalo. t+NY+1] 4202.&daddr=42+DelawaretAve,t+Bufialo +NY+14202&hl=en-

US&view=map&eeocode=CR_cHypAldvBFeFejgldUWdM-wé&t=m&z=16> |
vCard<http://www lipsitzgreen.com/veard/3/>

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>>>

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>>>

>>>

>>>

>>>

>>> On May 9, 2018, at 7:46 PM, Kucera, Johri (USACAC)

<John. Kucera@usdoj.gov<mailto:John Kucera@usdoj gov>< ailto-John, Kucera(@usdoi.gov>
<mailto John Kucera@usdol.gov>> wrote:

>>>

>>> Ok, understood. Now that we've got a shared definition for ‘underlying documents,’ how would
you like to proceed?

>>>

>>>

>>> John Kucera | AUSA

>>> (213) 894-3391

>>>

>>>

>>> From: Paul Cambria <peambria@|glaw.com<mailto:peambria aw.com>
<mailto:pcambria@Iglaw.com><mailto:peambria@lglaw.com>>

>>> Sent: Wednesday, May 09, 2018 4:38 PM

>>> To: Kucera, John (USACAC) <jkucera@usa.doj. gov<mailtoikucera @usa,doigov>
<mailto:jkucera@usa.doj.gov><mailtojkucera@usa. doi. gov>>

>>> Ce: Janey Henze Cook

<i aney@henzecookmurphy.com<mailto Janev@henzecookmurphy.com>
<mailto:Janev@henzecookmurphy.com><mailto Janev@ henzecookmurphy.com>>; Lanza, Dominic
(USAAZ) <DLanza@usa.doi.gov<mailto:DI anza(@usa.doj,gov><mailto:DLanza@us doi.gov>
<mailto-DLanza@usa.doj.gov>>; Rapp, Kevin(USAAZ)

<K Rapp@usa.doj.gov<mailto:K Rapp@usa.doj. gov>< ailto;KRapp@usa.doj,.gov>
<mailto:KRapp@usa.doj.gov>>; Perlmeter, Margaret (U SAAZ)
<MPerlmeter@usa.doj.gov<mailto:MPerlmeter@usa doj.gov><, ailto:MPerlmeter@usa. doi. gov>
<mailto:MPerlmeter@usa.doj.gov>>; Jones, Reginald (CRM)

<Reginald Jones4@usdoj. gov<mailto:Reginald Jones4(qu: doy. gov>

<mailto:-Reginald Jones4@usdoj. gov><mailto:Reginald. Jones4@usdoi.gov>>

>>> Subject: Re: Documents

>>>

>>> Sorry to me john underlying documents are what was used to seize the property.

>>> Sent from my iPhone

>>>

>>>

>>>

>>>

>>> <image001.png>

>>>

>>> On May 9, 2018, at 7:31 PM, Kucera, John (USACAC) /
<John.Kucera@usdoi.gov<mailto:John Kucera@usdoj.gov><mailto:John. Kucera@usdoj.gov>
<mailto:John Kucera@usdoj.gov>> wrote:

>>> This has been a frustrating exchange, because there were several points today where you
indicated that our proposal was fine. For example, your email of 12:35 stated: "Ok that is fine it is
unopposed at this point however I don't understand the need for continued sealing. We can review’
the documents and discuss with you and then decide the next step." We propose to move to allow
the government to provide the underlying documents immediately, as a courtesy to you, and provide

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 13 of 14

them as soon as possible so you can review and then we can discuss next steps.
>>>

>>> -John

>>>

>>>

>>> John Kucera | AUSA

>>> (213) 894-3391

>>>

>>>

>>> From: Paul Cambria <peambria@|elaw.com<mailto:pcambria@1 com>
<mailto:pcambria@glaw.com><mailto:pcambria@lglaw.com>>

>>> Sent: Wednesday, May 09, 2018 4:04 PM

>>> To: Kucera, John (USACAC) <jkucera@usa.doj.gov<mailto-jkucera@usa.doj.gov>
<muailto:jkucera@usa.doi.gov><muailto-jkucera@usa.doj.gov>>

>>> Ce: Janey Henze Cook

<Janey@henzecookmurphy.com< ailto:Janev@henzecookmurphy.com>
<mailto-Janev@henzecookmurphv.com><mailto:Janey@henzecookmurphy.com>>; Lanza, Dominic
(USAAZ) <DLanza@usa.doj.gov<mailto: DLanza@usa.doj.gov>< ailto: DLanza@usa.doj.gov>
<mnailto:DLanza@usa.doj.gov>>; Rapp, Kevin (USAAZ)

<KRapp@usa,doj gov<mailto:K Rapp@usa.doj.gov><mailto:KR: @usa.doj.gov>
<mailto:KRapp@usa.doj.gov>>; Perlmeter, Margaret (USAAZ)
<MPerlmeter(@usa.doj.gov<mailto:MPerlmeter@usa.doj. gov><mailto:MPerlmeter(@usa doj.gov>
<mailto: MPerlmeter@usa,doj.gov>>; Jones, Reginald (CRM)
<Reginald Jones4@usdoj.gov<mailto:-Reginald Jones @usdoj.gov>

<mailto-Reginald,Jones4@usdoj. gov><mailto:Reginald Jones4@usdoj.gov>>

>>> Subject: Re: Documents

>>>

>>> No I'm not rejecting that at all we would take that information and use it to discuss the accounts
we were talking about the other day but we need the other documents so that we can address all of
the assets that have been seized in a prompt and timely fashion our position is that it is unfair to tie”
up this massive amount of property pretrial without allowing us to promptly seek review

>>> Sent from my iPhone

>>>

>>>

>>>

>>>

>>> <image001.png>

>>>

>>> On May 9, 2018, at 7:00 PM, Kucera, John (USACAC)

<John Kucera@usdoi gov<mailto-John Kucera@usdoj.gov><mailtoJo n Kucera@usdoj.gov>
<nailto:John. Kucera@usdoj.goy>> wrote:

>>> Ok, I think that I understand your position, but please correct me if I'm wrong. You are
rejecting our offer to seek an order to allow the government to provide you with the "underlying
documents" (as we've now defined that term), is that right?

>>>

>>>

>>> John Kucera | AUSA

>>> (213) 894-3391

>>>

>>>

>>> From: Paul Cambria <pcambria@]glaw.com<mailto:peambria@|glaw.com>
<mnailto:pcambria@|glaw.com><mailto:pcambria@lglaw.com>>

>>> Sent: Wednesday, May 09, 2018 3:56 PM

>>> To: Kucera, John (USACAC) <jkucera@usa.doj.gov<mailto-jkucera@usa do. gov>
<mailto:ikucera(@usa.doi.gov><muailto:jkucera@usa.doj.gov>>; Lanza, Dominic (USAAZ)
<DLanza@usa.doj.gov<mailto:DLanza@usa.doj.gov>< ailto:DLanza@usa,.do_gov>
<mailto:DLanza@usa.doj.gov>>; Rapp, Kevin (CUSAAZ)

Case 2:18-cr-00422-DJH Document 148-1 Filed 05/18/18 Page 14 of 14

<KRapp@usa.doj.gov<mailto:K Rapp@usa.doj.gov><mailto:KRapp@u dop_goy>
<nailto:-KRapp@usa.doj.gov>>; Janey Henze Cook .
<Janev@henzecookmurphy.com<mailto:- Janey@hen ecookm com>
<qailto:-Janev@henzecookmurphy.com><mailto Janey@henzecookmurphy.com>>

>>> Subject: Documents

>>>

>>>

>>> Sorry if this was not clear but I always meant all the documents the Government used to
separate the defendants from their property PRE trial. We are entitled to these and respectfully we
know of no reason to delay disclosure especially given the impact seizure has on the defendants
personally and defense wise . We also thought the court sought to promote and encourage disclosure
sooner than later. I would hope you would reconsider this request before we apply to the court for
relief. :

>>> Sent from my iPhone

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>>> <image001.png>

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